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Rachel Perillo
                                                                     October 29, 2020

Via ECF
Honorable Nelson S. Roman                               Defendant's request to adjourn the Sentencing from
United States District Judge                            Nov. 20, 2020 until March 18, 2021 at 12:00 pm is
Southern District of New York                           granted upon the Government's consent. Clerk of
300 Quarropas Street                                    Court requested to terminate the motion (doc. 349).
White Plains, New York 10601                            Dated: Nov. 4, 2020

        Re:      United States v. Owens et al.,
                 Including JAQUEZ HILL
                 17 Cr. 506 (NSR) -05

Dear Judge Roman:

      I, along with Elizabeth Macedonio, represent Jaquez Hill, a defendant in the
above-referenced matter. I write with the consent of the government, by AUSA
Maurene Comey, to respectfully request an adjournment of Mr. Hill’s sentencing,
which is presently scheduled for November 20 at 12:00 p.m.

       The reasons for an adjournment are as follows. First, Mr. Hill is incarcerated
at the Metropolitan Detention Center (“MDC”), and the ongoing COVID-19
pandemic has limited our ability to meet and speak with our client in order to
sufficiently prepare him for sentencing. Second, because of the complexity and
seriousness of this matter, we believe it is in Mr. Hill’s best interest to proceed with
an in-person sentencing. However, doing so at this time would require Mr. Hill to
quarantine for fourteen days upon returning from court to the MDC, which we
would like to avoid. Finally, I am unable to appear in person at this time due to my
underlying medical conditions and the health risks associated with COVID-19. For
these reasons, it is respectfully requested that Mr. Hill’s sentencing be adjourned to
March 18, 2021 at 12:00 p.m., a date and time that I understand is convenient for
the Court.




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Hon. Nelson S. Roman
October 29, 2020
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      I thank your Honor for your attention to this matter.

                                                          Respectfully submitted,

                                                                /s/

                                                          Jeremy Schneider

cc:   All counsel (by ECF)
